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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

BEVERLY HENRY, ET AL                           :    CIVIL ACTION NO:
                                               :
                                               :
VERSUS                                         :    JUDGE:
                                               :
DAVITA DIALYSIS CENTER                         :
OF DONALDSONVILLE, LOUISIANA                   :    MAGISTRATE:


                                   NOTICE OF REMOVAL

        Defendant, DVA Renal Healthcare, Inc. (erroneously named, "DaVita Dialysis Center of

Donaldsonville, Louisiana"), hereby gives notice of removal of the above action from the 23rd

Judicial District Court for the Parish of Ascension, State of Louisiana to the United States

District Court for the Eastern District of Louisiana. In support of the Notice of Removal, the

removing defendant states as follows:

1.      This action was originally commenced by Beverly Henry, et al on September 21, 2016,

        against DaVita Dialysis Center of Donaldsonville, Louisiana, through the filing of a

        Petition for Damages in the 23rd Judicial District Court, Parish of Ascension, State of

        Louisiana, captioned “Beverly Henry, et al vs. DaVita Dialysis Center of Donaldsonville,

        Louisiana” Suit No. 116972.

2.      Defendant was improperly served with the Citation and original Petition for Damages

        under four separate variations of its name through its agent, on September 27, 2016.




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3.      The United States District Court for the Eastern District of Louisiana is the Court

        embracing the place wherein the state court action is pending.

7.      This Court has jurisdiction over the matter pursuant to 28 U.S.C. § 1332 and it was

        properly removed pursuant to 28 U.S.C. §§ 1441 and 1446.

                                     Diversity of Citizenship

8.      The action is properly removed to this Court pursuant to 28 U.S.C. §§ 1332 and 1441, in

        that all properly joined and served parties are believed to be of diverse citizenship, and

        the amount in controversy exceeds $75,000.00, exclusive of interest and costs.

9.      Plaintiff, Beverly Henry is a person of the full age of majority believed to be domiciled in

        the Parish of Ascension, State of Louisiana, and a citizen of Louisiana. See Petition for

        Damages, attached as Exhibit A. The domicile of the plaintiffs is not alleged, but upon

        information and belief, it is Ascension Parish.

10.     DVA Renal Healthcare, Inc. is a foreign corporation organized and existing under the

        laws of the State of Tennessee, and with its principal place of business in Denver,

        Colorado.

11.     Accordingly, no properly joined and served defendant is a resident or citizen of the same

        state as the plaintiff and complete diversity of citizenship exists, based upon the

        information available to defendant.

                                     Amount in Controversy

12.     The amount in controversy exceeds $75,000.00, exclusive of interest and costs.



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13.        Louisiana Code of Civil Procedure Article 893 A(1) articulates the following

           requirements for the pleading of monetary damages, in relevant part:

                    The prayer for relief shall be for such damages as are reasonable in the
                    premises except that if a specific amount of damages is necessary to
                    establish… the lack of jurisdiction of federal courts due to insufficiency of
                    damages,... a general allegation that the claim exceeds or is less than the
                    requisite amount is required.

           Hence, Article 893 requires that the plaintiffs generally state that the claim is less than the

           jurisdictional amount in order to establish a lack of federal jurisdiction. The plaintiff

           failed to make such an assertion in this case.

14.        Because the plaintiff in Louisiana state courts, by law, may not specify the numerical

           value of claimed damages, the removing defendant must prove by a preponderance of the

           evidence that the amount in controversy exceeds $75,000.00.1 The removing defendant

           may prove that amount either by demonstrating that the claims are likely above

           $75,000.00 in sum or value, or by setting forth the facts in controversy that support a

           finding of the requisite amount.2

15.        The removing defendant avers that the plaintiffs' allegations of damages establish that the

           amount in controversy likely exceeds $75,000.00. Specifically, the plaintiff expressly

           avers that the alleged damages include nine components for the deceased, as well as five

           components for each of the four surviving children.




1
    Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880 at 882-883 (5th Cir. 2002).
2
    Id.

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16.     It is facially apparent from the forgoing factual allegations and claims for damages set

        forth in the plaintiffs' Petition for Damages that the amount in controversy in this case

        likely exceeds the jurisdictional minimum of $75,000.00.3

                                                    Removal

17.     As shown above, this civil action is one in which this Court has original jurisdiction

        pursuant to 28 U.S.C. § 1332, in that it is a civil action between citizens of different states

        where the amount in controversy exceeds the sum of $75,000.00, exclusive of interest

        and costs. Therefore, this action may be removed pursuant to 28 U.S.C. § 1441.

18.     The plaintiff filed the Petition on September 21, 2016.           Defendant, DaVita Renal

        Healthcare, Inc., was served under erroneous names with the Citation and original

        Petition for Damages on September 27, 2016. Accordingly, this Notice of Removal is

        being filed within thirty (30) days from service of a copy of the Petition setting forth the

        claim for relief. 4

19.     Pursuant to 28 U.S.C. § 1446(d), plaintiffs, Beverly Henry, et al are being provided with

        a copy of this Notice of Removal and a copy is also being filed with the Clerk of the 23rd

        Judicial District Court for the Parish of Ascension, State of Louisiana.

20.     The removing defendant attaches, in globo, as Exhibit B, a copy of all process, pleadings,

        and orders served upon it at the time of removal and known to be part of the state court

        record.5


3
  Allen v. R & H Oil & Gas Co., 63 F.3d 1326 (5th Cir. 1995).
4
  28 U.S.C. § 1446(b)¶2.
5
  28 U.S.C. § 1446(a).

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21.     Consistent with the provisions of 28 U.S.C. § 1446(d), no further proceedings shall occur

        in this matter in the 23rd Judicial District District Court for the Parish of Ascension, State

        of Louisiana.

22.     Pursuant to Rule 11 of the Federal Rules of Civil Procedure, undersigned counsel

        certifies reading the forgoing Notice of Removal, that to the best of their knowledge,

        information and belief, formed after reasonable inquiry, it is well-grounded in fact and is

        warranted by existing law or a good faith argument for the extension, modification or

        reversal of existing law, and that it is not interposed for any improper purpose.

23.     By filing this Notice of Removal, the removing defendant does not waive, and hereby

        reserves all defenses and objections to the plaintiff’s Petition for Damages.

24.     Undersigned counsel certifies that all joined and served defendants join in and consent to

        the removal of the action in accordance with 28 U.S.C. § 1441.

        WHEREFORE, the removing defendant, DVA Renal Healthcare, Inc., respectfully

requests that this Court assume full jurisdiction over the cause herein, as provided by law,

inasmuch as this Court has subject matter jurisdiction over the dispute because all parties are

completely diverse and the jurisdictional amount is satisfied.




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                                                  Respectfully Submitted:

                                                  DEGAN, BLANCHARD, NASH

                                                  /s/ Maryann G. Hoskins

                                                  ____________________________________
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                                                  RICHARD C. BADEAUX (#21457)
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                                                  Counsel for Defendant, DVA Renal
                                                  Healthcare, Inc.




                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing pleading has been served upon all counsel
record by ECF filing on the 27th day of October, 2016.

                                    /s/Maryann G. Hoskins

                                    ________________________
                                    MARYANN G. HOSKINS




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